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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 RANDOLPH FRESHOUR and                              )
 VINCENZO ALLAN, each individually and on           )
 behalf of similarly situated individuals,          )
                                                    )
                Plaintiffs,                         )   Case No.: 1:23-cv-02667
                                                    )
        v.                                          )   Honorable Virginia M. Kendall
                                                    )
 CERENCE INC., a Delaware corporation,              )
                                                    )
                Defendant.                          )

                     PROPOSED AGREED DISCOVERY SCHEDULE

       In accordance with Judge Maldonado’s June 10, 2024 Minute Entry (ECF No. 61), counsel

for Plaintiffs Randolph Freshour and Vincenzo Allen and Defendant Cerence Inc. have conferred

and formulated the following agreed discovery schedule for consideration by the Court. This

proposed schedule incorporates the initial deadlines set forth in the Judge Maldonado’s August 25,

2023 Minute Entry (ECF No. 35).


                     Event                                             Date
 Rule 26(a)(1) Disclosures Exchanged              September 25, 2023
 Initial Written Discovery Requests Issued        October 11, 2023
 Deadline to Report if Parties Will Request       December 13, 2024
 Settlement Conference or Schedule Private
 Mediation
 Deadline for Completion of Merits Fact           July 22, 2025
 Discovery
 Class Certification Motion No Later Than         August 22, 2025
 Completion of Any Outstanding Class              60 days after a ruling on Plaintiffs’ class
 Discovery                                        certification motion
 Dispositive Motions No Later Than                45 days after a ruling on Plaintiffs’ class
                                                  certification motion
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                       Event                                           Date
 Rule 26(a)(2) Expert Disclosure(s)                September 5, 2025
 Exchanged By
 Rebuttal Expert Disclosure(s) Exchanged By        October 20, 2025
 Expert Depositions Completed By                   December 4, 2025

Dated: July 22, 2024                     Respectfully submitted,

                                              /s/ Matthew C. Wolfe

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                                   CERTIFICATE OF SERVICE

          The undersigned, an attorney, certifies and states that he caused a true and correct copy of

the foregoing PROPOSED AGREED DISCOVERY SCHEDULE to be electronically filed with

the Court via the Court’s CM/ECF system, which will serve notice of filing on all counsel of

record.



                                                         /s/ Matthew C. Wolfe
